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 1   GARY M. RESTAINO
     United States Attorney
 2   District of Arizona
 3   VINCENT J. SOTTOSANTI
     Assistant U.S. Attorney
 4   United States Courthouse
 5   405 W. Congress Street, Suite 4800
     Tucson, Arizona 85701
 6   Telephone: 520-620-7300
 7   Email: vincent.sottosanti@usdoj.gov
     Attorneys for Plaintiff
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
10                              FOR THE DISTRICT OF ARIZONA

11   United States of America,
12                                                           Mag. No. 4:20-mj-08904 (LAB)
                             Plaintiff,
13                                                       RESPONSE TO DEFENDANT’S
14           vs.                                        MOTION FOR RECONSIDERATION

15   Amber Ortega,
16
                            Defendants.
17
18
19          The United States of America, by and through its undersigned attorneys, hereby

20   requests the Court deny the defendant’s Motion for Reconsideration, as this matter has
21
     been fully briefed and argued and there are no new facts, no new law, and no showing that
22
23   this Court made a manifest error in its ruling. Both parties have already extensively briefed

24   and argued these issues; therefore, the Government asks this Court to refer to its previously
25
     filed motion (doc. 32) and will attempt to limit this response to address specific issues
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     raised in the defendant’s Motion for Reconsideration.
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 1      I.       The Defendant Has Failed to Meet the Requirements of Local Rule of Civil
                 Procedure 7.2(g).
 2
 3           Local Rule of Civil Procedure 7.2(g), which governs motions for reconsideration,

 4   provides:
 5
                    The Court will ordinarily deny a motion for reconsideration of
 6                  an Order absent a showing of manifest error or a showing of
                    new facts or legal authority that could not have been brought
 7
                    to its attention earlier with reasonable diligence. Any such
 8                  motion shall point out with specificity the matters that the
                    movant believes were overlooked or misapprehended by the
 9                  Court, any new matters being brought to the Court’s attention
10                  for the first time and the reasons they were not presented
                    earlier, and any specific modifications being sought in the
11                  Court’s Order. No motion for reconsideration of an Order may
12                  repeat any oral or written argument made by the movant in
                    support of or in opposition to the motion that resulted in the
13                  Order. Failure to comply with this subsection may be grounds
14                  for denial of the motion.

15           In the District of Arizona, motions for reconsideration will be granted when:
16
                    (1) There are material differences in fact or law from that
17                      presented to the Court and, at the time of the Court’s
                        decision, the party moving for reconsideration could not
18
                        have known of the factual or legal differences through
19                      reasonable diligence;
                    (2) There are new material facts that happened after the Court’s
20
                        decision;
21                  (3) There has been a change in the law that was decided or
                        enacted after the Court’s decision; or
22                  (4) The movant makes a convincing showing that the Court
23                      failed to consider material facts that were presented to the
                        Court before the Court’s decision.
24
25   Motorola, Inc. v. J.B. Rodgers Mech. Contractors, 215 F.R.D. 581, 586 (D. Ariz. 2003).

26   “Reconsideration is indicated in the face of the existence of new evidence, an intervening
27
     change in the law, or as necessary to prevent manifest injustice.” Navajo Nation v.
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 1   Confederated Tribes & Bands of the Yakama Indian Nation, 331 F.3d 1041, 1046 (9th Cir.
 2   2003). Whether to grant reconsideration is within the sound discretion of the trial court,
 3
     id., and a denial of a motion for reconsideration is reviewed for abuse of that discretion.
 4
 5   Kona Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877, 883 (9th Cir. 2000).

 6          In this case, the defendant rehashes the same arguments as to “substantial burden”
 7
     and “compelling interest” that have already been briefed and argued. She cites to no new
 8
 9   facts or law. The defendant’s single point of error seems to be that she believes the court

10   analyzed the wrong government action. The defendant argues that that court should have
11
     analyzed the prosecution of the defendant and not her arrest. The defendant cites Hoffman
12
     for this proposition. However, Hoffman addressed the criminal prosecution and not the
13
14   arrest and removal of the individuals from the Cabeza Prieta National Wildlife Refuge,
15   because there was no removal and arrest. Hoffman was asked to leave the Refuge, and he
16
     did. He was not cited until later. United States v. Hoffman, 436 F. Supp. 3d 1272, 1277
17
18   (D. Ariz. 2020).

19          If, as the defense now claims, stopping the construction was the religious exercise
20
     at issue, then the Government action at issue ought to be the action that stopped that
21
22   exercise, i.e. the defendant’s arrest. In any event, both the defendant’s arrest and her

23   prosecution have been fully briefed and argued to the Court. Any justification and
24
     compelling interest the Government has in arresting an individual also applies to the
25
     prosecution of that individual. Splitting hairs by separating the prosecution from the arrest
26
27   makes no difference in terms of the legal analysis of the RFRA issues.
28          The defendant has failed to meet the requirements of Local Rule of Civil Procedure

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 1   7.2(g) and her motion should be denied.
 2
 3      II.      RFRA

 4               a. Substantial Burden
 5
              The Government previously briefed the relevant law in relation to the Religious
 6
     Freedom Restoration Act. (Doc. 32). In its original motion, the Government argued that
 7
 8   Navajo Nation 535 F.3d 1058 (9th Cir. 2008) is controlling. This is still the Government’s
 9   position.
10
              To establish that a government action constitutes a substantial burden on a
11
12   claimant’s sincerely held religious belief, a claimant must show either (1) that he or she

13   was forced to choose between following his or her sincerely held religious beliefs or
14
     receiving a government benefit, or (2) that he or she was coerced to act contrary to his or
15
16   her sincerely held religious beliefs by the threat of criminal or civil sanctions. Snoqualmie

17   Indian Tribe v. F.E.R.C., 545 F.3d 1207, 1214 (9th Cir. 2008) (quoting Navajo Nation, 535
18
     F.3d at 1070). As pointed out in argument and in the Government’s previous motion, the
19
     Defendant fails both prongs.
20
21            However, even if there are other ways of showing a substantial burden, Navajo
22   Nation still precludes any claim that the Government’s use of its own land can be a
23
     substantial burden on an individual’s religion. “The right to the free exercise of religion
24
25   does not provide religious adherents the right to dictate the government’s use of its own

26   land or resources.” Id. at 1073 (holding that the movants “cannot dictate the decisions that
27
     the government makes in managing what is, after all, its land”) (citing Lyng v. Nw. Indian
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 1   Cemetery Protective Ass’n, 485 U.S. 439, 453 (1988)) (emphasis in original).
 2          The defense asks this Court to “recognize, as the Hoffman Court did, that the
 3
     “substantial burden” prohibition prevents the government from criminally prosecuting
 4
 5   anyone for actions that constitute the exercise of a sincerely held religious belief—".

 6   (Defense Motion for Reconsideration, Doc 51, at 8). However, this is a misstatement of
 7
     the Hoffman holding and a rule that, if adopted, could lead to absurd results. What Hoffman
 8
 9   actually found was that the Government’s actions were a substantial burden and that the

10   government didn’t have a compelling interest in requiring individuals to obtain a permit
11
     before leaving food and water for migrants crossing the desert, because even if they had a
12
     permit they still wouldn’t be allowed to leave food and water. United States v. Hoffman,
13
14   436 F. Supp. 3d 1272, 1277 (D. Ariz. 2020).           “The Court finds that Defendants
15   demonstrated that their prosecution for this conduct substantially burdens their exercise of
16
     sincerely held religious beliefs, and that the Government failed to demonstrate that
17
18   prosecuting Defendants is the least restrictive means of furthering any compelling

19   governmental interest.” Id.
20
            In this case, the defendant still has not shown a substantial burden on her religious
21
22   beliefs. The defendant was free to exercise her religion in any way she sees fit, she just

23   could not do so on the narrow strip of land in the Organ Pipe National Monument that was
24
     subject to the closure order. The defendant was also free to protest the construction of
25
     border infrastructure and attempt to stop the construction in any legal way she wished, as
26
27   long as she did not violate the closure order. Nothing the Government did in this case
28   placed a substantial burden on the defendant’s exercise of her religion.

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 1              b. The Government Has a Compelling Interest and Has Used the Least
                   Restrictive Means in Enforcing Closure Orders.
 2
 3          Even if the defendant could show that the Government placed a substantial burden

 4   on the exercise of her religion, which she has not, the Government still has a compelling
 5
     interest in enforcing closure orders. These interests include: (1) the safety of the public,
 6
     construction workers, law enforcement personnel and the defendant herself, (2) the ability
 7
 8   to use and improve its own land, and (3) the ability to engage in construction activity
 9   without unnecessary delays or interference. In fact, one of the regulations the defendant is
10
     charged with violating requires a determination that the closure is necessary for public
11
12   health and safety. 36 C.F.R. § 1.5 provides that the park superintendent may: “based upon

13   a determination that such action is necessary for the maintenance of public health and
14
     safety…close all or a portion of a park area to all public use or to a specific use or
15
16   activity….violating a closure, designation, use or activity restriction or condition, schedule

17   of visiting hours, or public use limit is prohibited.”
18
            The defendant argues that the Government has no interest in prosecuting the
19
     defendant because, “[t]he government accomplished its goal—it was able to remove her
20
21   from the area and continue with the construction to which she was objecting. And, absent
22   this prosecution, Ms. Ortega was able to engage in the relevant exercise of her religion:
23
     doing whatever she could to protect her people’s sacred lands, including placing her own
24
25   body between the equipment she viewed as harmful and the land she viewed as sacred.”

26          However, because the defendant ignored the Agent’s order to leave the closed area,
27
     the Government had to remove the defendant by force. The Government’s goal in this case
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 1   wasn’t to forcibly remove the defendant, it was to maintain a safe environment for all
 2   involved and to improve its own land without interference. The defendant, unlike the
 3
     defendant in Hoffman, did not voluntarily leave, she pointedly refused to leave even after
 4
 5   being warned she would be arrested.

 6          The defendant is asking this court to adopt a rule whereby the Government has to
 7
     arrest an individual to maintain its interests but is barred from prosecuting that individual.
 8
 9   Law enforcement officers arrest people when they have probable cause to believe they

10   committed a crime. The Government has a right to prosecute individuals who commit
11
     crimes. RFRA, when it applies, creates an exemption to criminal liability. “RFRA exists
12
     precisely to provide, where appropriate, exemptions from ‘rules that apply to all members
13
14   of the public.’” United States v. Hoffman, 436 F. Supp. 3d 1272, 1286 (D. Ariz. 2020).
15   The Defense’s position is essentially saying that law enforcement should arrest people
16
     without probable cause in order to further the Government’s “goals.” Not only is this
17
18   legally dubious, but it would potentially expose the officers involved to liability. See e.g.,

19   Tanzin v. Tanvir, 141 S. Ct. 486, 208 L. Ed. 2d 295 (2020) (holding that RFRA's express
20
     remedies provision permits litigants, when appropriate, to obtain money damages against
21
22   federal officials in their individual capacities); 42 USC § 1983.

23          In addition, one of the Government’s valid interests in prosecuting individuals who
24
     commit crimes is to promote deterrence. In this case, the Government has an interest in
25
     prosecuting the defendant to deter her and others from violating closure orders, creating
26
27   safety hazards and interfering with agency functions.
28          There were no less restrictive means for the Government to accomplish its

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 1   compelling interests of public safety, the ability to use and improve its own land, and the
 2   ability to engage in construction activity without unnecessary delays or interference. The
 3
     alternative suggested by the defendant, forceable removal yet immunity from prosecution,
 4
 5   is legally questionable. The other alternative, one that would be in place if this Court allows

 6   the defendant a RFRA exemption, would force the Government to allow the defendant to
 7
     indefinitely block any construction activity she finds religiously objectionable and ignore
 8
 9   closure orders putting herself and others at risk.

10      III.   Conclusion
11
            The defendant has failed to meet the standards set forth in Local Rule of Civil
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     Procedure 7.2(g) and the Court’s previous ruling sets forth the correct legal conclusion.
13
14   For these reasons, the defendant’s Motion for Reconsideration should be denied.
15
            Respectfully submitted this 28th day of December, 2021.
16
17                                                        GARY M. RESTAINO
                                                          United States Attorney
18                                                        District of Arizona
19                                                        /s Vincent J. Sottosanti
20                                                        VINCENT J. SOTTOSANTI
                                                          Assistant U.S. Attorney
21
22
     Copy of the foregoing served electronically
23   or by other means this 28th day of December, 2021, to:
24   All ECF participants
25
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